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 1   Jefferson T. Collins, Bar #016428
     JONES, SKELTON & HOCHULI, P.L.C.
 2   40 North Central Avenue, Suite 2700
     Phoenix, Arizona 85004
 3   Telephone: (602) 263-1700
     Fax: (602) 200-7825
 4   jcollins@jshfirm.com
 5   Attorneys for Defendants Target Corporation
     and Target Stores, Inc.
 6
 7                            UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF ARIZONA
 9   Martha Vasquez,                                      NO.
10                                           Plaintiff,   NOTICE OF REMOVAL
11                 v.
12   Target Corporation, a Minnesota corporation;
     Target Stores, Inc., (FN), a Minnesota
13   corporation; John Does and Jane Does 1-10;
     ABC Corporations 1-10; XYZ Partnerships 1-
14   10,
15                                       Defendants.
16
17                 Defendants Target Corporation and Target Stores, Inc., by and through
18   undersigned counsel, file this Notice of Removal of this action to the United States
19   District Court for the District of Arizona and states as follows:
20                 1.     On or about March 16, 2016, this action was commenced against
21   Defendants in the Superior Court of the State of Arizona, in and for the County of
22   Maricopa under the caption Martha Vasquez v. Target Corporation, et al.. Copies of the
23   initial pleadings are attached hereto as Exhibit A. Defendants were served by process on
24   March 21, 2016.
25                 2.     Target Corporation and Target Stores Inc. are both Minnesota
26   Corporations with their principal place of business in Minneapolis, Minnesota. According
27   to the Complaint, Plaintiff is a resident and citizen of Maricopa County, Arizona.
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 1                 3.     This Court has original jurisdiction over the civil action pursuant to
 2   28 U.S.C. § 1332 in that the matter in controversy exceeds the sum or value of $75,000
 3   exclusive of interest and costs, and the action is between citizens of different states.
 4   Plaintiff’s Complaint does not specify precise damages claimed, however her current
 5   demand is in the amount of $95,000 based upon medical specials totaling $33,369.34.
 6   She is claiming ongoing pain and limitations as a result of a left knee meniscal tear for
 7   which she underwent surgery. Based upon this information, the amount in controversy
 8   exceeds the jurisdictional limits for diversity jurisdiction. Therefore, this action may be
 9   removed to this Court pursuant to the provisions of 28 U.S.C. § 1441, et seq.
10                 4.     Written notice of the filing of this Notice of Removal will be given to
11   all adverse parties as required by law and a true and correct copy of this Notice will be
12   filed with the Clerk of the Superior Court of the State of Arizona, in and for the County of
13   Maricopa.
14                 5.     A Notice of Filing Notice of Removal was filed with the Superior
15   Court and a copy of the same is attached as Exhibit B.
16                 WHEREFORE, Defendants Target Corporation and Target Stores, Inc.
17   respectfully requests that this action be removed to this Court.
18                 DATED this 20th day of April 2016.
19                                              JONES, SKELTON & HOCHULI, P.L.C.
20
21                                              By s/ Jefferson T. Collins
                                                   Jefferson T. Collins
22                                                 40 North Central Avenue, Suite 2700
                                                   Phoenix, Arizona 85004
23                                                 Attorneys for Defendants Target
                                                   Corporation and Target Stores, Inc.
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 1                              CERTIFICATE OF SERVICE
 2                I hereby certify that on this 20th day of April 2016, I caused the foregoing

 3   document to be filed electronically with the Clerk of Court through the CM/ECF System

 4   for filing; and served on counsel of record via the Court’s CM/ECF system.

 5
 6   Kevin Garrison
     Diana Archer
 7   GARRISON LAW FIRM
     7972 W. Thunderbird, Suite 107
 8   Peoria, AZ 85381
     Attorneys for Plaintiff
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     /s/ Kathy Kleinschmidt
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